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12   Attorneys for Plaintiffs
13
14                        UNITED STATES DISTRICT COURT

15                FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     ADAM BRANDY, an individual;
17   JONAH MARTINEZ, an individual;
18   DAEMION GARRO, an individual;
     DG 2A ENTERPRISES INC., d.b.a.
19   GUN WORLD; JASON MONTES, an
20   individual; WEYLAND-YUTANI LLC,
     d.b.a. MATCH GRADE GUNSMITHS;                Case No. 2:20-cv-02874-AB-AK
21   ALAN KUSHNER, an individual; THE
22   TARGET RANGE; TOM WATT, an
     individual; A PLACE TO SHOOT, INC.;
23
     SECOND AMENDMENT
24   FOUNDATION; CALIFORNIA GUN
25   RIGHTS FOUNDATION; NATIONAL
     RIFLE ASSOCIATION OF AMERICA;
26   and FIREARMS POLICY COALITION,
27   INC.,

28                      Plaintiffs,

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                                       NOTICE OF APPEAL
Case 2:20-cv-02874-AB-SK Document 71 Filed 11/19/20 Page 2 of 4 Page ID #:808




 1
           vs.
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 3
     ALEX VILLANUEVA, in his official
 4   capacity as Sheriff of Los Angeles
 5   County, California, and in his capacity as
     the Director of Emergency Operations;
 6
     BARBARA FERRER, in her official
 7   capacity as Director of Los Angeles
 8   County Department Of Public Health;
     COUNTY OF LOS ANGELES,
 9
10                       Defendants.
11
12
                                   NOTICE OF APPEAL
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14
15         PLEASE TAKE NOTICE that Plaintiffs Jonah Martinez, Jason Montes,
16   Weyland-Yutani LLC, d.b.a. Match Grade Gunsmiths, Alan Kushner, The Target
17
     Range, Tom Watt, A Place to Shoot, Inc., Second Amendment Foundation,
18
19   California Gun Rights Foundation, National Rifle Association of America, and
20
     Firearms Policy Coalitions, Inc. hereby appeal to the United States Court of
21
22   Appeals for the Ninth Circuit from the Court’s Order and Judgment entered

23   respectively on October 20, 2020 and November 9, 2020 (ECF Doc. 68 and Doc.
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     70). A copy of the order and judgment are attached hereto.
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                                        NOTICE OF APPEAL
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 1         Further, Plaintiffs Adam Brandy, Daemion Garro, DG 2A Enterprises Inc.,
 2
     d.b.a. Gun World, who are parties to the order and judgment, do not enter a notice
 3
 4   of appeal.

 5
 6   Dated: November 19, 2020
 7
                                                     /s/ Raymond M. DiGuiseppe
 8                                                   Raymond M. DiGuiseppe
 9
                                                     Attorney for Plaintiffs
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                                        NOTICE OF APPEAL
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 1                           CERTIFICATE OF SERVICE
 2
 3         I, Raymond M. DiGuiseppe, hereby certify that I served a copy of the Notice
 4   of Appeal and Representation Statement through the Court’s ECF system to all
 5   registered users.
 6
 7   Dated: November 19, 2020
 8
 9                                                  By:
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                                       NOTICE OF APPEAL
